
                                          NO. 07-12-0534-CV

                                       IN THE COURT OF APPEALS

                                  FOR THE SEVENTH DISTRICT OF TEXAS

                                             AT AMARILLO

                                               PANEL B

                                           JANUARY 4, 2013

                                    ______________________________


                            In the Interest of K.M.S., E.A.S. AND J.A.S.,

                                               Children
                                  _________________________________

                          FROM THE 100TH DISTRICT COURT OF CHILDRESS COUNTY;

                             NO. 9658; HONORABLE STUART MESSER, PRESIDING
                                   _______________________________

                                          Memorandum Opinion
                                   _______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
      Pending before the court is the appeal of Feliciano Beau Segura III and  Candice  Leigh  Segura
from an order terminating their parental rights.  The final order  was  signed  in  August  of  2012;
however, the notice of appeal was filed in December of 2012.  We dismiss for want of jurisdiction.
      An appeal from  a  termination  order  is  considered  accelerated.   Tex.  Fam.  Code  Ann.  §
109.002(a) (West Supp. 2012).  Therefore, the notice of appeal must be filed within  twenty  days  of
the day the order is signed.  Tex. R.  App.  P.  26.1(b).   More  importantly,  timely  post-judgment
motions such as a motion for new trial do not extend the filing deadline.  Id. 28.1.  Applying  these
rules to the circumstances at bar (and after affording appellants with  opportunity  to  address  the
matter), we conclude that the December 2012 notice of appeal was untimely and  failed  to  vest  this
court with jurisdiction over the appeal.  Thus, we have no choice but to dismiss the appeal.

                                  Per Curiam

